                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 WAYMO LLC,                                          Case No.17-cv-00939-WHA
                 Plaintiff,

          v.

 UBER TECHNOLOGIES, INC., et al.,
                 Defendants.



                     NOTICE OF REQUEST FOR VIDEO RECORDING

         The parties in this case are hereby notified that a request has been made to video record

the following proceeding in this case pursuant to General Order 65, as part of the Cameras in the

Courtroom Pilot Project. Further information may be found at cand.uscourts.gov/cameras.



Proceeding: Jury Trial

Date of scheduled proceeding: Beginning 02/05/2018 and concluding in approximately three

weeks.



         Consent to video recording will be presumed unless a party completes the Objection to

Request for Video Recording form available at cand.uscourts.gov/cameras within seven days of

the date of this notice.



Dated: 01/26/2018                                     Susan Y. Soong, Clerk of Court



                                                      Signature of Clerk or Deputy Clerk
